     Case 1:21-cv-00231-TJA Document 34     Filed 03/21/22   Page 1 of 28



                              Slip Op. 22-23

           UNITED STATES COURT OF INTERNATIONAL TRADE

- - - - - - - - - - - - - - - - - - -x

GLOBE SPECIALTY METALS, INC. and            :
MISSISSIPPI SILICON LLC,
                                            :
                             Plaintiffs,
                                            :
                 v.                             Court No. 21-00231
                                            :
UNITED STATES,
                                            :
                             Defendant.
                                     :
- - - - - - - - - - - - - - - - - - -x

                             Opinion & Order

[Plaintiffs’ motion for judgment on the
 agency record denied; action dismissed.]

                                                Decided: March 21, 2022

     Adam H. Gordon, Jennifer M. Smith, Ping Gong, and Lauren
Fraid, The Bristol Group PLLC, Washington, DC, for the plaintiffs.

     Bret R. Vallacher, Trial Attorney, U.S. Department of Justice,
Civil Division, Commercial Litigation Branch, Washington, DC, Brian
M. Boynton, Acting Assistant Attorney General, Patricia M.
McCarthy, Director, and L. Misham Preheim, Assistant Director, for
the defendant. Of Counsel W. Mitch Purdy, Attorney, Office of the
Chief Counsel for Trade Enforcement and Compliance, U.S. Department
of Commerce.


          AQUILINO,     Senior   Judge:     Plaintiffs       Globe   Specialty

Metals, Inc. and Mississippi Silicon LLC challenge the final

determination    of   the   International   Trade    Administration,        U.S.

Department of Commerce (“ITA”), sub nom. Silicon Metal from Bosnia

and Herzegovina and Iceland: Final Affirmative Determinations of
     Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 2 of 28



Court No. 21-00231                                                    Page 2


Sales at Less Than Fair Value and Final Affirmative Determination

of Critical Circumstances for Iceland, 86 Fed.Reg. 11720 (Dep’t of

Commerce Feb. 26, 2021) (“Final Determination”), Public Record

(“PR”) 70, and accompanying issues and decision memorandum dated

February 22, 2021 (“IDM”), PR 61.


            Jurisdiction to hear and decide plaintiffs’ motion for

judgment on the agency record, proffered pursuant to USCIT Rule

56.2, is based upon 28 U.S.C. §§ 1581(c), 2631(c).                 The sole

question raised is whether, in calculating normal value based on

constructed value, ITA’s use of financial statements pertaining to

Ferroglobe PLC (Ferroglobe) was supported by substantial evidence

and in accordance with the law.    See 19 U.S.C. §1516a(b)(1)(B)(i).

For the following reasons, it was.


                                   I

            As domestic producers of silicon metal, the plaintiffs

filed an antidumping duty petition with ITA, alleging that that

metal, imported from Bosnia, was being sold in the United States at

less than fair value. See PR 1–11. Claiming inability to obtain

financial   statements   from   Bosnian   producers,       the   petitioners

estimated their costs of production using financial data from the

Norwegian producer Elkem ASA, which had no connection to this
      Case 1:21-cv-00231-TJA Document 34     Filed 03/21/22     Page 3 of 28



Court No. 21-00231                                                         Page 3


investigation apart from being a producer of silicon that the

petitioners selected for this purpose.           PR 6 at 10–11.


           ITA issued a deficiency questionnaire instructing the

petitioners to recalculate the costs of production alleged in their

petition using the financial statements of a Bosnian producer, or,

if information regarding such a producer was not available, to

recalculate   based   on   the   financial      statements      of   one   of   the

petitioning companies and to provide those statements. See PR 16

and   Confidential    Record     (“CR”)   12,    at   4.   In    response,      the

petitioners provided the financial statements of Ferroglobe, the

parent company of one of them.            PR 19, CR 14, Ex. “SUPP-II-5".

Citing two decisions from 2002 and 2003, the petitioners refused to

recalculate   their    alleged     margin    using    their      own   financial

statements on the grounds that Ferroglobe and its North American

market segment experienced losses instead of profits in 2019.                   See

id. at 10–12.    ITA then calculated an estimated dumping margin

using Ferroglobe’s financial statements. Given the losses, ITA set

the constructed value (CV) profit ratio at zero, resulting in a

revised petition margin of 21.41 percent. See PR 24 at 8; IDM at 2.


           ITA initiated investigation, setting the period therefor

as April 1, 2019 through March 31, 2020, and assigning that percent

as the estimated dumping margin for Bosnia.                Silicon Metal From
       Case 1:21-cv-00231-TJA Document 34     Filed 03/21/22   Page 4 of 28



Court No. 21-00231                                                          Page 4


Bosnia   and    Herzegovina,    Iceland,    and    Malaysia:    Initiation     of

Less-Than-Fair-Value Investigations, 85 Fed.Reg. 45177, PR 23 at 2,

10.    The agency selected one mandatory respondent, “R-S Silicon

D.O.O.” (“RSS”), which represented the largest exporter of silicon

metal from Bosnia during the period of investigation. See PR 28, CR

20.


              Relevant to this action, RSS submitted its response to

section A of the original antidumping questionnaire (i.e., the

section relating to general information), PR 43, CR 21, but it

subsequently notified ITA of its intent not to respond further in

the investigation, PR 44. The petitioners then requested that the

agency apply total facts available with adverse inferences to RSS

and assign an adverse facts available (AFA) rate of 39 percent to

the company.      PR 46, CR 26.       In so requesting, the petitioners

contended      that   “the   Department    typically   assigns       the   highest

estimated dumping margin from its initiation notice as the AFA rate

in    these   situations,     which   is   21.41   percent     for   Bosnia   and

Herzegovina in this case,” id. at 2. RSS’s response stated that ITA

should apply the highest estimated dumping rate stated in the

Initiation Notice of 21.41 percent. PR 47.
     Case 1:21-cv-00231-TJA Document 34    Filed 03/21/22   Page 5 of 28



Court No. 21-00231                                                       Page 5


            In its preliminary determination, ITA applied total facts

available with adverse inference to RSS and assigned an AFA rate of

21.41 percent based on the estimated weighted-average dumping

margin relied on in the Initiation Checklist.           Silicon Metal from

Bosnia    and   Herzegovina    and   Iceland:     Preliminary    Affirmative

Determinations of Sales at Less Than Fair Value, 85 Fed.Reg. 80009

(Dep’t of Commerce Dec. 11, 2020), PR 69; Preliminary Decision

Memorandum (PDM), PR 48, at 6; Initiation Checklist at 8.             Because

the adverse facts available rate was derived from information in

the petition and the supplements to it, the agency corroborated the

AFA rate, key elements of the export price, and normal value

calculations, by examining information from various independent

sources provided in the petition and its supplements.              PDM at 7.

Although the petitioners submitted a revised calculation in their

supplement to the petition for an alleged margin of 39.00 percent,

it was not calculated using the financial statements of the

petitioners (or a parent company), as requested by ITA.            Id.     Based

on the agency’s inclination not to use statements from third

countries to calculate constructed value ratios, ITA corroborated

the recalculated rate of 21.41 percent found in the Initiation

Notice,   which   it   had   calculated   using    Ferroglobe’s    financial

statements.     Id. at 8–9.
       Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22    Page 6 of 28



Court No. 21-00231                                                         Page 6


            ITA issued its Final Determination and IDM in which the

agency continued to use the margin from the Initiation Notice,

which was calculated using Ferroglobe’s financial statements, as

the adverse facts available rate for RSS. IDM at 6, 11.                        ITA

explained that data from Ferroglobe would have at least two

advantages over data from the petitioners’ hand-picked company.

First, because “the petitioners calculated the cost of production

based on their own experience,” the agency “[found] it appropriate

to base the CV ratios on that petitioner’s parent company” so that

the “usage rates and CV ratios have a link to the same source.”

Id. at 9.    Second, ITA explained that it was “continu[ing] to not

rely   on   third-party   financial    statements”      and    provided      many

examples of this practice. Id. at 9–10 n.48. It further explained

that “[a]lthough the parent company is headquartered abroad, its

financial statements include the data from the petitioner itself,

making   Ferroglobe’s     financial   statements,       at    least   in     part,

reflective of the financial data of that U.S. producer,” whereas

“Elkem’s financial statements represent entirely third-country

based data with no element of cost from either the country under

investigation or a U.S. producer.” Id. at 9.


            ITA   confirmed   the     accuracy    and    validity       of     the

information underlying the calculation of the dumping margin used
       Case 1:21-cv-00231-TJA Document 34                Filed 03/21/22     Page 7 of 28



Court No. 21-00231                                                                       Page 7


in    the    Initiation       Notice       by    examining       source      documents       and

affidavits, as well as publicly available information.                            Id. at 10.

Nothing in the record calls into question the validity of the

information            supporting     the       export     price      and     normal       value

calculations            provided      in        the   initiation           checklist.       Id.

Accordingly, the agency found that the use of the dumping margin in

the Initiation Notice of 21.41 percent was consistent with both the

Tariff Act of 1930, as amended (“Act”), and ITA’s practice, and was

reliable for the purposes of the underlying investigation.                               Id. at

10.

                                                 II

                 The    plaintiff-petitioners            did    not   comply      with     ITA’s

instructions           to   revise    their       calculations,           which   relied     on

information regarding a non-party located in neither the home

country (Bosnia) nor the United States.                        They now plead that this

court disregard ITA’s discretion, ignore its well-established

practices, and overturn a decision with substantial evidence to

support it.            These arguments fail to overcome the standard of

review      to    which     this    proceeding        is   subject.         See   19     U.S.C.

§1516a(b)(1)(B)(I).                ITA acted well within its discretion in

applying a 21.41 percent dumping margin, and the court will not

substitute its judgment for that of ITA in choosing between two
      Case 1:21-cv-00231-TJA Document 34     Filed 03/21/22   Page 8 of 28



Court No. 21-00231                                                         Page 8


fairly conflicting views. See, e.g., Goldlink Indus. Co. v. United

States, 30 CIT 616, 618, 431 F.Supp.2d 1323, 1326 (2006); see also

Cleo Inc. v. United States, 501 F.3d 1291, 1296 (Fed.Cir. 2007)

(improper to overturn an agency determination “simply because the

reviewing court would have reached a different conclusion based on

the same record”).


              The plaintiffs do not contend that ITA failed to abide by

a   statute    or   regulation   and   do   not   contend     that    a   factual

determination it reached lacks a basis in the record (i.e.,

substantial evidence).      ITA’s decision to resort to “adverse facts

available” is uncontested here.         The dispute at bar only concerns

choice of the AFA rate.      The statute and the regulation governing

such determinations provide the agency with substantial discretion

as to what sources it may use to establish such rate.                Accord PAM,

S.p.A. v. United States, 582 F.3d 1336, 1340 (Fed.Cir. 2009)

(“[ITA]’s discretion in applying an AFA margin is particularly

great when a respondent is uncooperative by failing to provide or

withholding information”) (citing 19 U.S.C. §1677e); Statement of

Administrative Action accompanying the Uruguay Rounds Agreements

Act, H.R. Doc. No. 103-316 (SAA), at 840 (1994) (emphasizing the

case-by-case nature of selecting sources by stating that it was

inappropriate “to establish particular methods or benchmarks for
     Case 1:21-cv-00231-TJA Document 34      Filed 03/21/22   Page 9 of 28



Court No. 21-00231                                                         Page 9


applying this alternative”). The relevant statutory and regulatory

sections provide that, in selecting from adverse facts available,

ITA “may” rely on information from (1) the petition, (2) the final

determination in the investigation, (3) any previous administrative

review, or “(4) any other information placed on the record.” See 19

U.S.C.     §1677e(b);     19    C.F.R.   §351.308(c)    (same).         Because

Ferroglobe’s financial statements are “other information placed on

the record,” id. (see Petition Supplement, CR 14, at 29–238), the

“statute    .   .   .   expressly   permitted   [ITA]   to    turn   to”     them,

Papierfabrik August Koehler SE v. United States, 843 F.3d 1373,

1380 (Fed.Cir. 2016).          Accordingly, the plaintiffs cannot and do

not show that ITA’s decision was in violation of a statute or

regulation.


            Instead, plaintiffs’ arguments rest primarily on their

interpretation of outdated agency practices, pursuant to which

ITA’s purported preference for using financial statements from

profitable companies supposedly defeats a preference for using

financial statements from domestic, petitioning companies.                   In so

doing, the plaintiffs ignore ITA’s explanations founded on its

current well-established practices, rely on inapposite decisions to

confer outsized importance to outdated practices, and attempt to

blur the distinction between a company having substantial business
     Case 1:21-cv-00231-TJA Document 34          Filed 03/21/22     Page 10 of 28



Court No. 21-00231                                                              Page 10


in the United States and one having none.                    These arguments lack

merit.


               Plaintiffs’ overriding position appears to be that ITA

abused its discretion.            See, e.g., Goodluck India Ltd. v. United

States, 11 F.4th 1335, 1342 (Fed.Cir. 2021) (“[ITA] abuses its

discretion . . . if it departs from a consistent practice without

reasonable       explanation”).         The    plaintiffs      do     not,      however,

establish      that   the    agency’s     decision      to   use    the    21.41    rate

represents a departure from a consistent practice, much less an

unexplained one.


               Because financial information from a Bosnian producer was

not available, ITA’s potential sources from which to select an AFA

in its investigation were limited. It could resort either to (a)

financial statements from an entirely third-country producer,

Elkem, or to (b) financial statements from the parent company of

one of the (U.S. producer) petitioners, which they provided to ITA.

IDM at 2.        Although the plaintiffs continue to argue that the

agency       should   have    exercised    its    discretion        to    use   Elkem’s

financial statements for calculation of the constructed value

financial       ratios,1     it   determined     that    Ferroglobe’s        financial

         1
          See Pls’ Reply Br, p. 16. The quality of this submission
and the other papers filed by both sides herein obviates the need
                                                    (continued...)
     Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 11 of 28



Court No. 21-00231                                                   Page 11


statements were preferable because of (1) “[ITA]’s practice of

relying on the petitioner’s own data for initiation purposes in the

absence of in-country information,” id. at 10, and (2) ITA’s

general practice not to “rely on the third-country financial

statements,” id. at 9.       Accordingly, the agency selected the

financial statement linked to a U.S. producer over the financial

statements from a third-country producer.


           The plaintiffs do not persuade that ITA’s decision was

unreasonable. As evidenced by the numerous other determinations it

cited in the IDM, it frequently uses financial statements of a U.S.

producer of comparable merchandise to calculate normal value based

on constructed value for initiations when no in-country data are

available. See id. at 9–10 n.48, citing, inter alia, Mattresses

from Cambodia, Indonesia, Malaysia, Serbia, Thailand, the Republic

of Turkey, and the Socialist Republic of Vietnam: Initiation of

Less-Than-Fair-Value Investigations, 85 Fed.Reg. 23002 (April 24,

2020), and accompanying Indonesia initiation checklist at 9 (using

a U.S. producer’s financial statements); Carbon and Alloy Steel

Wire Rod from Belarus, Italy, the Republic of Korea, the Russian



       1
          (...continued)
for oral argument, and the motion therefor can be, and hereby is,
denied.
      Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 12 of 28



Court No. 21-00231                                                    Page 12


Federation, South Africa, Spain, the Republic of Turkey, Ukraine,

United   Arab     Emirates,     and   United   Kingdom:      Initiation     of

Less-Than-Fair-Value Investigations, 82 Fed.Reg. 19207 (April 26,

2017), and accompanying United Arab Emirates Initiation Checklist

at 9–10 (using a U.S. producer’s financial statements)).              The IDM

makes clear that this is done in accordance with agency practice of

relying on a petitioner’s own data for initiation purposes in the

absence of in-country information, as well as ITA’s preference for

not   using     third-country    financial     statements     to    calculate

constructed value profit and selling expense ratios. Id. at 6, 10.


           The plaintiffs argue that Ferroglobe, like Elkem, “also

is located in a third country,” so ITA’s justification for using

information from Ferroglobe over Elkem is a “canard.” Plaintiffs’

Motion for Judgment on the Administrative Record (“Pls’ Br”), ECF

No. 19, at 4.    At most, however, this argument only applies to the

second rationale (concerning agency preference to not rely on

third-country financial statements) and not the first (concerning

its preference to use petitioners’ own financial statements).               In

any case, this argument glosses over evident differences between

Ferroglobe and Elkem. As ITA explained in the IDM, “[a]lthough the

parent company is headquartered abroad, its financial statements

include the data from the petitioner itself, making Ferroglobe’s
     Case 1:21-cv-00231-TJA Document 34       Filed 03/21/22      Page 13 of 28



Court No. 21-00231                                                          Page 13


financial statements, at least in part, reflective of the financial

data of that U.S. producer.”                IDM at 9.          The agency found

Ferroglobe’s financial statements preferable to Elkem’s financial

statements because the latter “represent entirely third-country

based data with no element of cost from either the country under

investigation or a U.S. producer.” Id. Furthermore, because “the

petitioners calculated the cost of production based on their own

experience,”      and    thus   ITA   is   “applying      usage     rates   from    a

petitioner’s own experience,” it would be “appropriate to base the

{constructed value} ratios on that petitioner’s parent company” so

that “the usage rates and CV ratios have a link to the same

source.”     Id.        The plaintiffs have not demonstrated anything

arbitrary or irrational about this reasoning.


            The    plaintiffs     next     argue   that    ITA’s      reliance     on

information from Ferroglobe violated its practice of not relying on

financial information from companies that suffered losses. Pls’ Br

at 24–28.    This argument fails for at least two reasons.


            First, there is nothing in the statute that requires that

ITA use financial statements showing a profit.                     In calculating

normal value based on constructed value, it normally calculates a

constructed value profit ratio using the preferred method under
     Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 14 of 28



Court No. 21-00231                                                   Page 14


section 19 U.S.C. §1677b(e)(2)(A) of the Act, i.e., based on the

respondent’s own home-market or third-country sales made in the

ordinary course of trade. 19 U.S.C. §1677b(e).         When the preferred

method is unavailable, ITA relies on one of the three alternatives

outlined in sections 19 U.S.C. §1677b(e)(2)(B)(i) through (iii).

They are: (i) the use of the actual amounts incurred and realized

by the specific exporter or producer in connection with the

production and sale of merchandise that is in the same general

category of products as the subject merchandise; (ii) the use of

the weighted average of the actual amounts incurred and realized by

exporters or producers (other than the respondent) that are subject

to the investigation or review in connection with the production

and sale of a foreign like product; or (iii) “the amounts incurred

and realized for selling, general, and administrative expenses, and

for profits, based on any other reasonable method, except that the

amount allowed for profit may not exceed the amount normally

realized by exporters or producers [other than the respondent] in

connection with the sale, for consumption in the foreign country,

of merchandise that is in the same general category of products as

the subject merchandise . . ..” 19 U.S.C. § 1677b(e)(2)(B).                The

plaintiffs do no demonstrate why ITA’s selection was aberrant.
       Case 1:21-cv-00231-TJA Document 34           Filed 03/21/22   Page 15 of 28



Court No. 21-00231                                                                 Page 15


              Second, the statute does not establish a hierarchy for

selecting among the alternatives for calculating constructed value

profit. See SAA at 840 (“At the outset, it should be emphasized,

consistent with the Antidumping Agreement, new section 773(e)(2)(B)

does   not        establish    a     hierarchy     or    preference        among     these

alternative        methods.    Further,       no   one   approach     is    necessarily

appropriate for use in all cases.”). Moreover, as explained in the

SAA,   “the       selection     of    an   alternative       will    be     made     on   a

case-by-case basis, and will depend, to an extent, on available

data.” See id. at 840.          The court does not concur with the argument

that the fact that the SAA did not “establish particular methods

and benchmarks for applying this alternative” implies that ITA must

use any third-country, third-party source a petitioner selects.

See Pls’ Br at 22.            ITA has discretion to select from any of the

three alternative methods, depending on the information available

on the record, and in this instance the information in the record

only permitted it to select option three -- “any other reasonable

method”      --     because    the     only    respondent      in    the     underlying

investigation was non-responsive. See supra. The plaintiffs argue

that the fact that there is a “cap on the amount of profit that

will be included” under this option “inherently assumes that the

agency will rely on a source that does not have zero profit or a
       Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 16 of 28



Court No. 21-00231                                                     Page 16


loss”, Pls’ Br at 18, but a basic canon of statutory interpretation

produces the opposite result: because the statute explicitly sets

an exception capping the amount of profit that can be included from

surrogate financial statements, the absence of a “profit floor”

exception    means that there is no minimum profit requirement among

surrogate financial statements.       See, e.g., Ventas, Inc. v. United

States, 381 F.3d 1156, 1161 (Fed.Cir. 2004) (“Where Congress

includes certain exceptions in a statute, the maxim expressio unius

est exclusio alterius presumes that those are the only exceptions

Congress intended.”).


             Be that as it may, the plaintiffs do not point to any

authority for the proposition that ITA’s preference for profitable

companies2    must triumph    over its practice of using financial

statements    from   U.S.   producers   when    no     in-country    data    are

available.    As explained below, plaintiffs’ cases do not show ITA

relying on third-country data for calculating constructed value

when   adequate   financial   information      about    U.S.   producers     was

available.     See Pls’ Br at 21–22.        Rather, the agency only used


        2
          For example, in Catfish Farmers of Am. v. United States,
33 CIT 1258, 1273, 641 F.Supp.2d 1362, 1378 (2009), the dispute was
whether ITA was reasonable in choosing to use a profitable
third-country seafood processor to derive surrogate financial
ratios for a nonmarket economy company to the exclusion of another
third-country seafood processor that was not profitable.
     Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 17 of 28



Court No. 21-00231                                                   Page 17


third-country financial statements when there were no financial

statements covering home market sales or from a U.S. producer

available on the record.       Id.   Here, however, ITA had record

information available that was linked to one of the petitioning

companies, which included data from a U.S. producer that could be

used to calculate constructed value.      IDM at 2, 10.       Thus, none of

those cases support plaintiffs’ position.


           They argue, largely based on EMD from Australia and PVA

from Korea, that ITA has a practice of not selecting rates as

adverse facts available when those rates were calculated using

financial statements showing a loss.            See Pls’ Br at 24–31.

However, those cases do not show that ITA has a practice of

prioritizing profitable financial statements from third-country

producers over those of U.S. producers that show a loss when

calculating constructed value for initiation.              In fact, in both

instances, the agency ultimately relied on profitable financial

statements from other producers in the country of investigation,

and not financial statements from a third-country producer.                See

Notice of Final Determination of Sales at Less Than Fair Value and

Termination of Critical Circumstances Investigation: Electrolytic

Manganese Dioxide from Australia, 73 Fed.Reg. 47586 (Dep’t of

Commerce   Aug. 14, 2008); Issues and Decision Memorandum at 5–6
       Case 1:21-cv-00231-TJA Document 34       Filed 03/21/22   Page 18 of 28



Court No. 21-00231                                                            Page 18


(ITA chose to calculate constructed value based on an Australian

producer with home market sales); Notice of Final Determination of

Sales at Less Than Fair Value: Polyvinyl Alcohol From the Republic

of Korea, 68 Fed.Reg. 47540 (Dep’t of Commerce                   Aug. 11, 2003);

Issues and Decision Memorandum at Comment 1 (ITA used a Korean

producer with home market sales as a surrogate company from which

to select a reasonable constructed value profit rate).


            Unlike      in   EMD   from   Australia,       in    the       underlying

investigation      herein    ITA    did   not    have    profitable        surrogate

financial statements from the country of investigation that could

be used in calculating constructed value.                 IDM at 2.          PVA from

Korea likewise represented a different set of facts, in which ITA

had a source for calculating constructed value that included both

U.S. sales and home market sales in financial statements. See PVA

from Korea at Comment 1.       By contrast, in its investigation at bar,

ITA was faced with the options of using either financial statements

from   Elkem,    an    entirely    third-country      producer,       or   financial

statements      from   Ferroglobe,    a   parent     company     of    one    of   the

petitioning companies whose financial data included financial

statements from a U.S. producer.           IDM at 2, 9.
      Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 19 of 28



Court No. 21-00231                                                    Page 19


           When ITA selects an alternative method for calculating

normal value based on constructed value, its practice, in the

absence of in-country information, is to rely on a petitioner’s own

data, in the form of financial statements from U.S. producers, over

a third-party producer for initiation purposes.                Id. at 9–10.

Plaintiffs’ citations to Mid Continent Steel & Wire, Inc. v. United

States, 41 CIT ___, ___, 273 F.Supp.3d 1348, 1351–53 (2017), aff’d

in part, 941 F.3d 530, 542–43 (Fed.Cir. 2019), and Husteel Co. v.

United States, 40 CIT ___, ___, 180 F.Supp.3d 1330, 1343–46 (2016),

aff’d, 710 Fed. Appx. 890 (Fed.Cir. 2018), are not to the contrary.

See Pls’ Br at 21–22. Neither of those cases addressed ITA’s method

of selecting an AFA rate, nor did they address whether the agency

should have used third-country financial information over financial

information regarding a petitioner operating in the United States.

Here, ITA acted in accordance with its practice when it used

Ferroglobe’s     financial   statements,   which    were    the   only      fully

audited ones provided by the petitioners in response to the agency

to calculate normal value based on constructed value.             Id. at 2, 9,

10.


           The    plaintiffs   next   argue    that     Elkem’s     financial

information is superior to Ferroglobe’s because the latter reflects

a company involved in a “wide range of business activities,”
       Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 20 of 28



Court No. 21-00231                                                     Page 20


including the production of silicon metal, whereas Elkem is a

“pure-play producer of silicon metal” like RSS.              Pls’ Br at 4.    As

a preliminary matter, and as the plaintiffs admit, “Petitioners

also provided separate financial data for GSM, a subsidiary of

Ferroglobe, which were used to compile the aggregated financial

data   forming     the   basis   of   Ferroglobe’s     audited   consolidated

financial statements.” Pls’ Br at 24.                 More importantly, the

plaintiffs    adduce     no   authority   for   the   proposition    that    the

surrogate company must only (or even primarily) produce the product

at issue. Indeed, the Trade Preferences Extension Act of 2015 made

clear that, in applying an adverse inference in selecting among the

facts otherwise available, ITA “is not required” to demonstrate

that the “dumping margin used” “reflects an alleged commercial

reality of the interested party” for “any” purpose.                 19 U.S.C.

§1677e(d)(3).      Accordingly, the relevance of Ferroglobe’s other

operations    is   neither    established   nor   apparent.       Plaintiffs’

elevation of their own statement that “all silicon metal producers

use essentially the same inputs and production process,” Pls’ Br at

23, would, at most, show that Elkem might be an acceptable (but not

mandatory) surrogate company.


            Finally, the plaintiffs argue that “[ITA]’s practice is

to select, as an AFA rate, the higher of: (1) the highest dumping
       Case 1:21-cv-00231-TJA Document 34             Filed 03/21/22       Page 21 of 28



Court No. 21-00231                                                                    Page 21


margin alleged in the petition, or (2) the highest calculated rate

of any respondent in the investigation.”                        Pls’ Br at 15, 28–31.

According to them, the fact that the sole mandatory respondent did

not provide sufficient information to calculate a rate required ITA

to    accept      the    highest      rate   alleged       in   their      petition.         Id.

However, this framework does not reflect the agency’s current

practice when making adverse inferences, which is to “select the

higher    of:      (1)    the    highest     margin     stated        in    the   notice      of

initiation;        or     (2)    the     highest     margin       calculated         for     any

respondent.” Papierfabrik Aug. Koehler SE v. United States, 843

F.3d 1373, 1380 (Fed.Cir. 2016) (noting that plaintiff did not

disprove this practice).                In other words, as explained in the IDM,

ITA    has    a    practice      of     corroborating       the    rate      found     in    the

Initiation        Notice    and       applying      that    rate      as     adverse       facts

available.          See    IDM     at    7–8.     Notably,      the     petitioners         even

acknowledged that “the Department typically assigns the highest

estimated dumping margin from its initiation notice as the AFA rate

in    these    situations,         which     is    21.41    percent        for    Bosnia    and

Herzegovina in this case . . ..”                  See Silicon Metal from Bosnia and

Herzegovina: Request for Application of Total Facts Available with

Adverse Inferences to RSS, PR 46, CR 26, at 2.
     Case 1:21-cv-00231-TJA Document 34     Filed 03/21/22   Page 22 of 28



Court No. 21-00231                                                      Page 22


             Plaintiffs’ citation to Welded Stainless Pressure Pipe

from Thailand: Final Determination of Sales at Less Than Fair

Value, 79 Fed.Reg. 31093 (Dep’t of Commerce           May 30, 2014), is not

to the contrary because, in that case, the initiation margin was

not adjusted from the petition margin, so there was no reason for

ITA to make any distinction between the petition margin and the

initiation    margin.     See    Welded   Stainless    Pressure       Pipe   From

Malaysia,    Thailand,    and    the   Socialist    Republic     of    Vietnam:

Initiation of Antidumping Duty Investigations, 78 Fed.Reg. 35253

(Dep’t of Commerce       June 12, 2013) (initiation notice accepting

that the “estimated dumping margins for welded stainless pipe from

Thailand range from 23.77 percent to 24.01 percent”). Notably, in

that case was cited a related ITA decision in which the margins

alleged in the petition had been “adjusted at initiation,” and the

agency ultimately selected an even higher rate based on information

obtained during the course of its investigation.              See Issues and

Decision Memorandum, Welded Stainless Pressure Pipe From Thailand:

Final Determination of Sales at Less Than Fair Value, 79 Fed.Reg.

31093 (Dep’t of Commerce        May 30, 2014).     Here, the margin alleged

in the petition was also “adjusted at initiation” in accordance

with agency current practices.         As explained above, the plaintiffs
      Case 1:21-cv-00231-TJA Document 34    Filed 03/21/22   Page 23 of 28



Court No. 21-00231                                                     Page 23


have not established that ITA was unreasonable in adjusting the

petition rate in arriving at the initiation rate.


           The other ITA decisions on which the plaintiffs now rely,

EMD from Australia and PVA from Korea —- which are from 2003 and

2008 —- represent a prior practice of the agency.                  Under that

practice, it would revisit the initiation margin when selecting for

use as an AFA, potentially recalculating it using information later

obtained in those investigations or evaluating whether it was

sufficiently adverse. See IDM at 7–9. In each of those proceedings,

ITA recalculated the rates under the premise that rates initially

calculated based on financial statements showing a loss would not

be   adverse,   but   would   rather       benefit    the    non-cooperative

respondents.    See Pls’ Br at 26 (quoting EMD from Australia and

accompanying IDM at 6).


           That practice, however, has since been superseded by

ITA’s current practice of not recalculating the initiation rate

when selecting it as adverse facts available.                  Under current

practice, the agency seeks to evaluate and confirm the reliability

of the information presented in a petition at the time of the

initiation of an investigation, and then ITA only corroborates the

margin in the initiation notice when selecting an AFA rate. IDM at
        Case 1:21-cv-00231-TJA Document 34        Filed 03/21/22    Page 24 of 28



Court No. 21-00231                                                            Page 24


7–8 (citing Aluminum Wire and Cable from the People’s Republic of

China: Final Affirmative Determination of Sales at Less Than Fair

Value, 84 Fed.Reg. 58134 (Dep’t of Commerce October 30, 2019), and

accompanying Issues and Decision Memorandum at Comment 1). Current

policy and practice are based on the fact that ITA has no ability

to     evaluate    whether       the   adverse     facts      available      rate     is

sufficiently adverse when there are no participating respondents,

there are no calculated rates, and there is no order in place. See

IDM at 8 (citing Certain Steel Wheels 12 to 16.5 Inches in Diameter

from     the     People's       Republic   of      China:     Final      Affirmative

Determination       of    Sales   at    Less    Than   Fair    Value,      and      Final

Affirmative Determination of Critical Circumstances, 84 Fed.Reg.

32707 (Dep’t of Commerce           July 9, 2019), and accompanying Issues

and Decision Memorandum at Comment 1 (Steel Wheels from China).


               ITA has followed this practice now for over a decade, and

has consistently stated that it does not revisit the initiation

margin when selecting it for use as AFA.                 See IDM at 7–8 (citing

Certain Steel Grating from the People's Republic of China: Final

Determination of Sales at Less than Fair Value, 75 Fed.Reg. 32366

(Dep’t of Commerce         June 8, 2010) (Steel Grating from China), and

accompanying Issues and Decision Memorandum at Comment 2; Aluminum

Wire    and    Cable     from   the    People's    Republic        of   China:      Final
     Case 1:21-cv-00231-TJA Document 34     Filed 03/21/22   Page 25 of 28



Court No. 21-00231                                                     Page 25


Affirmative Determination of Sales at Less Than Fair Value, 84

Fed.Reg. 58134 (Dep’t of Commerce Oct. 30, 2019), and accompanying

Issues and Decision Memorandum at Comment 1).           Further evidence of

this change in practice since the determinations in EMD from

Australia and PVA from Korea can be found in ITA’s inclusion of

language in the initiation notices for those two matters stating

that it would consider alternative options for calculating profit

if it became necessary to rely on the constructed-value-based

margin from the petition for adverse facts available. See IDM at 7,

n. 35.    This language is no longer included in ITA’s initiation

notices, however, and was not included in the Initiation Notice

herein.


            In the investigation underlying this action, ITA took the

same approach as it has in other investigations presenting similar

circumstances, such as in Steel Wheels from China.                   Like that

matter,     the   administrative       proceeding    herein     involved     an

investigation where no respondents participated, no order was in

place, and there were no calculated rates that could be used to

determine    whether   the   adverse    facts   available     rate   would   be

sufficiently adverse in the context of a producer’s actions over a

period of time under the discipline of an order.             IDM at 8, n.38.

In accordance with current practice and under such set of facts,
       Case 1:21-cv-00231-TJA Document 34     Filed 03/21/22   Page 26 of 28



Court No. 21-00231                                                       Page 26


ITA corroborated the dumping margin found in the Initiation Notice,

determined that the margin was reliable and had probative value,

and thus was appropriate to use as an adverse facts available rate.

Id. at 8–9.


            In short, the practice exemplified in the decisions the

plaintiffs cite is no longer current and has not been for many

years.    Id. at 7–9.     This is demonstrated by the cases spanning

over a decade that ITA referenced in the IDM as evidence of its

current practice, which replaced the practice the plaintiffs rely

on in their arguments.       Id. at 7–8 & n. 36, 38–40.         When it selects

an    alternative   method    for   calculating     normal     value   based     on

constructed value, ITA’s practice, in the absence of in-country

information, is to rely on a petitioner’s own data, in the form of

financial    statements      from   U.S.   producers,    over    a   third-party

producer for initiation purposes.             Id. at 9–10. ITA thus used

Ferroglobe’s    financial     statements,     which    were    the   only      fully

audited financial statements provided in response to its request,

to calculate normal value based on constructed value.                Id. at 2, 9,

10.    Contrary to plaintiffs’ argument, it would have been against

the agency’s current practice to evaluate the margin contained in

the Initiation Notice to determine whether it was sufficiently
     Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 27 of 28



Court No. 21-00231                                                   Page 27


adverse under the circumstances —- and there was nothing in the

record to make this evaluation.     See id. at 7–9.


          To summarize, ITA acted in accordance with its current

practice when it based the AFA rate on the initiation rate of 21.41

percent, which, as discussed above, was reasonably determined based

on Ferroglobe’s financial statements.          The plaintiffs at times

appear to suggest that this rate was so low that RSS secretly

wanted it to apply because it would be more favorable than the rate

it would be assigned if RSS had participated.          See Pls’ Br at 12,

14, 30 n. 7, 33.     However, ITA “is not required to determine, or

make any adjustments to” a “weighted average dumping margin based

on any assumptions about information the interested party would

have provided if the interested party had complied with the request

for information.”    19 U.S.C. §1677e(b)(1). See Nippon Steel Corp.

v. United States, 337 F.3d 1373, 1382 (Fed.Cir. 2003) (holding that

ITA may apply an adverse inference for a respondent’s “failure to

cooperate to the best of respondent’s ability, regardless of

motivation or intent”).
     Case 1:21-cv-00231-TJA Document 34   Filed 03/21/22   Page 28 of 28



Court No. 21-00231                                                   Page 28


                                  III

           In view of the foregoing, plaintiffs’ motion for judgment

on the agency record must be denied, and this action dismissed.


           So ordered.

Decided:   New York, New York
           March 21, 2022



                                  /s/     Thomas J. Aquilino, Jr.
                                              Senior Judge
